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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

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PEDRO LOPEZ, et al.
Plaintiffs

Vv.
Case No. 07-CA-11893-JLT
CITY OF LAWRENCE, MASSACHUSETTS, et al.

Defendanis

PLAINTIFFS’ MOTION FOR RECONSIDERATION
OF ORDER DENYING GLASS CERTIFICATION

1, INTRODUCTION.

At the class certification motion hearing in the above-titled case, this court
directed plaintiffs' counsel to draft a proposed order on class certification (limited in the
manner discussed by the parties and the court at the hearing), and to file stich proposed
order with the court. The plaintiffs’ counsel did this on May 718, 2008, stating in its
cover letter to the court that, should defendants file objections to the proposed order,
they would file a response to such objections. On May 30, 2008, the Commonwealth
defendants filed a memorandum opposing such class certification order. On May 30,
2008, that objection was Joined by counsel for the City of Boston. Plaintiffs’ counsel
obtained the consent of counsel for the Commonwealth to fle a short response to such
objection, and that response was fully drafted and about to be filed when, on June 9,
2008, this court issued an order without opinion denying class certification. Accordingly,
plaintiffs’ counsel has now converted their "response to defendants’ objections to class
certification order” to a motion for reconsideration, The motion should be granted for a

muttitude of compelling reasons. First, plaintiffs had not yet had an opportunity to

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